          Case 1:21-cr-00119-CJN Document 79 Filed 04/28/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
               v.                            :
                                             :       Crim. No. 21-CR-119-CJN
GARRET MILLER,                               :
                                             :
               Defendant.                    :


                                 NOTICE OF APPEARANCE

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby informs the Court that Assistant United States Attorney Stephen J. Rancourt

is entering his appearance in the above-captioned matter as counsel for the United States.


                                             Respectfully submitted,



                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY
                                             D.C. Bar No. 481052

DATED: April 28, 2022                By:     _________________________________
                                             STEPHEN J. RANCOURT
                                             Assistant United States Attorney
                                             Detailee
                                             Texas Bar No. 24079181
                                             United States Attorney’s Office
                                             District of Columbia
                                             (806) 472-7398
                                             stephen.rancourt@usdoj.gov
         Case 1:21-cr-00119-CJN Document 79 Filed 04/28/22 Page 2 of 2




                               CERTIFICATE OF SERVICE

       On this 28th day of April 2022, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.


                                                    _________________________________
                                                    STEPHEN J. RANCOURT
                                                    Assistant United States Attorney
